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                                 UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF IOWA



JOHN DOE,

                                                       CIVIL NUMBER: 3:19-cv-00047-RGE-HCA
                               Plaintiff(s),

         v.                                            JUDGMENT IN A CIVIL CASE
UNIVERSITY OF IOWA; BOARD OF
REGENTS, STATE OF IOWA; TIFFINI STEVENSON EARL; IRIS
FROST; LYN REDINGTON; ANGIE REAMS; CONSTANCE
SCHRIVER CERVANTES; JOHN KELLER; MONIQUE DICARLO;
and MARK BRAUN,
                               Defendant(s),


                 JURY VERDICT. This action came before the Court for trial by jury. The issues have
         been tried and the jury has rendered its verdict.


              ✔ DECISION BY COURT. This action came before the Court. The issues have been
         considered and a decision has been rendered.



                 IT IS ORDERED AND ADJUDGED:
        Defendants’ Motion for Summary Judgment is granted. Judgment is entered in favor of
        Defendants' and against Plaintiff.



         Date: September 21, 2021
                                                            CLERK, U.S. DISTRICT COURT


                                                            /s/ Brian Phillips
                                                            _____________________________
                                                            By: Deputy Clerk
